Filed 10/05/22                                       Case 22-22056                                               Doc 35



                                         UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF CALIFORNIA


            In re                                            )   Case No. 22-22056 - A - 7
            David R. Michal,                                 )   Docket Control No. DBL-1
                                  Debtor.                    )   Document No. 7
                                                             )   Date: 10/03/2022
                                                             )   Time: 9:00 AM
                                                             )   Dept: A



                                                          Order


           Findings of fact and conclusions of law are stated in the civil
           minutes for the hearing.

           David R. Michal’s motion has been presented to the court. Having
           considered the motion and opposition, as well as the arguments of
           counsel,

           IT IS ORDERED that the motion is denied;

           IT IS FURTHER ORDERED that not later than October 10, 2022,
           petitioning creditors’ shall file and serve an amended petition to
           include the documents supporting the assignment of the obligation held
           by the petitioning creditors;

           IT IS FURTHER ORDERED that not later than October 24, 2022, David R.
           Michal shall file an answer to the involuntary petition;

           IT IS FURTHER ORDERED that if David R. Michal contends that: (1)
           the petitioner creditors are but a single claim for the purposes
           of numerosity under 11 U.S.C. § 303(b), and (2) that he has 12 or
           more creditors, he shall file the statement required by Federal
           Rule of Bankruptcy Procedure 1003(b); and

           IT IS FURTHER ORDERED that all other relief is denied.

                   October 05, 2022




           [7] - Motion/Application   For Sanctions [DBL-1] Filed by Alleged Debtor David R. Michal (dpas) [7]
           - Motion/Application for   Compensation [DBL-1] by the Law Office of Dwiggins & Wilson Bankruptcy
           Law for Patricia Wilson,   Debtors Attorney(s) (dpas) [7] - Motion/Application to Dismiss Case
           [DBL-1] Filed by Alleged   Debtor David R. Michal (dpas)
